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AFFIDAVIT FOR PROBABLE CAUSE FOR
A COMPLAINT AND ARREST WARRANT

I, Brent Druery, being duly sworn, do hereby depose and state the liste FET,
INTRODUCTION AND AGENT BACKGROUND

L. I am employed as a Special Agent with Homeland Security Investigations
(“HSI”), assigned to the Resident Agent in Charge in Jackson, Mississippi. I have been so
employed since November of 2002. I have received training and been assigned to conduct
investigations of criminal violations of the United States Code as enumerated in Titles 8, 18, 19,
21, 22, 31 and various other federal statutes.

Z. I submit this affidavit based on information known to me personally from the
investigation, as well as information obtained from others who have investigated the matter or
have personal knowledge of the facts herein. This affidavit is being submitted in support of a
criminal complaint against Humberto SALVADOR-Lopez, and, as such, does not include all the
information known to me as part of this investigation, but only information sufficient to establish
probable cause for the issuance of a criminal complaint against Humberto SALVADOR-Lopez
for violating Title 8, United States Code, Sections 1326(a)(1) and (2), reentry of removed alien.

PROBABLE CAUSE
3, On August 7, 2019, Immigration and Customs Enforcement (ICE) executed seven
criminal and administrative search warrants at chicken processing company locations across the
Southern District of Mississippi. During the execution of the search warrant at Peco Foods,
15252 Highway 21, Walnut Grove, Mississippi 39189, ICE officials encountered Humberto
SALVADOR-Lopez (Alien # XXXXX4345), an illegal alien from Guatemala. Record checks for
SALVADOR-Lopez revealed one prior removal by U.S. immigration officials. On or about

September 24, 1997, SALVADOR-Lopez was encountered by U.S. immigration officials and
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was administratively processed. He was thereafter removed to Guatemala from New Orleans,
Louisiana, on or about December 1, 1997. Queries within ICE databases revealed Humberto
SALVADOR-Lopez has not received consent from the Attorney General of the United States or
Secretary of Homeland Security to apply for readmission, or to re-enter into the United States.
CONCLUSION

5. Based on these underlying facts and circumstances, as set forth above, it is my
belief that probable cause exists showing that Humberto SALVADOR-Lopez, is a citizen and
national of Guatemala, who reentered and was found in the United States after deportation and
removal without having first obtained the express consent of the Attorney General of the United
States or the Secretary of the Department of Homeland Security, in violation of Title 8, United

States Code, Section 1326(a)(1) and (2).

Respectfully submitted,

SOV I

Brent Druery Cf
Special Agent
Homeland Security Investigations

 

SWORN to before me on this /.§ ly of August, 2019.

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UNITED STATES MAGISTRATE JUDGE —
